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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                                        FOURTH DIVISION


  RODERICK ARNOLD, et al.,                         )    CIVIL ACTION NO. 01-CV-2086
  on behalf of themselves and all others           )    (DWF/AJB)
  similarly situated,                              )
                                                   )    CLASS ACTION
                   Plaintiffs,                     )
                                                   )
  v.                                               )
                                                   )
  CARGILL, INCORPORATED,                           )
                                                   )
                   Defendant.                      )


                         NOTIFICATION OF CONVENTIONAL FILING

                                                   OF

                           APPENDIX 7 (Reply): Deposition Testimony
                                       Douglas – Wint

                                       [FILED UNDER SEAL]



         This document is a place holder for the following item(s) which are filed in conventional or

 physical form with the Clerk’s Office:

         Appendix 7 (Reply): Deposition Testimony, Douglas - Wint

 If you are a participant in this case, this filing will be served upon you in conventional format.

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 ___ Other (description):

 * Filing of these items requires Judicial Approval.


 Dated: September 2, 2004                         SPRENGER & LANG, PLLC




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